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                          UN ITED STATES DISTRICT COURT FOR THE
                               SO UTHERN D ISTRICT OF FLO RIDA
                                        M iam iDivision
                       CASE NO.17-23158-ClV-M ARTINEZ-O TAZO-% YES

   LA SH A W N M ID D LETON ,
          Plaintiff,



   CA RN IV AL CORPO RATION ,
          Defendant.


                  ORDER ADOPTING REPORT AND RECO M M ENDATION

          Thism atterwasreferred to M agistrateJudgeOtazo-Reyesforapre-trialruling on allnon-

   dispositivemattersanda ReportandRecommendation on a11dispositivematters(ECF No.241.
   On January 14,2019, M agistrate Judge Otazo-Reyes filed a Report and Recom mendation,

   recommending thatCarnivalCom oration's(kiDefendant's'')M otion forSummary Judgmentbe
   GRANTED andthatthecasebeDISM ISSED W ITH PREJUDICE (ECF No.381.Objectionsto
   M agistrateJudgeOtazo-Reyes'Reportand Recom mendationswere due by January 28,2019.On

   February 7,2019,thisCourtentered an Orderto Show Cause,ordering Plaintiffto show causeby

   February 15,2019 w hy the Reportand Recom m endation should notbe affirm ed and adopted,or,

   inthealternative,tofileanyobjectionstotheReportandRecommendationby saiddeadline(ECF
   No.481.PlaintifftimelyfiledaresponsetotheOrdertoShow (EC No.531.TheCourthasreviewed
   theentirefileandrecord,hasmadeadenovoreview oftheissuesthatPlaintiffsobjectionstothe
   Reportand Recommendations present (ECF No,531,and is otherwise fully advised in the
   prem ises,

          The CourtfindsthatPlaintiffhas failed to addressthe factualdeficiencies in hercase as

   noted in M agistrate Judge Otazo-R eyes'w ell-reasoned report.Forexam ple,Plaintiff has failed to
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   putforth evidence thatDefendanthad actualor constructive notice ofthe dangerous condition.

   Plaintiff'sobjectionstothe Reportand Recommendationonlystates,in conclusory fashion,that
   iigtlhere was no way thatCarnivalwas unaware ofthe conditions atthe time ofthe accident
   especiallyiftherearemaintenanceandrepairrecordskept''(ECFNo.53,at2j.However,asnoted
   by M agistrateJudgeOtazo-Reyes,Plaintiffstated in herdeposition that:(i)shedid notobserve
   anyotherpassengerstrip on thestaircaseinquestion beforeorafterheraccidentand(ii)shedid
   nothear from anyone as to whether or notany other passengers have had any accidents on that

   staircase(ECF No.29-1,at6:12-24j.Hence,basedon therecord beforethisCourt,Plaintiffhas
   failed to put forth sufficient evidence of notice to the D efendant, actual or constructive.See

   Bencomo v.CostaCrociereS.P.A.Co.,No.10-62437,2011W L 13175217,at*2 (S.D.Fla.Nov.
   14,2011),J-J/'
                #,476F.App'x232(11thCir.2012).Accordingly,aftercarefulconsideration,itis
          AD JUD G ED    that United States M agistrate Judge Otazo-Reyes' Report and

   Recommendation gECF No.38) is AFFIRM ED and ADOPTED. Plaintiffs objections are
   OVERRULED and itis:

          O RD ERE D A ND A DJU D G ED that

          1. Defendants'M otion forSummary Judgment(ECF No.391isGRANTED forthe
             reasons stated in M agistrate Judge Otazo-Reyes'w ell-reasoned report.

          2. PlaintiffscaseisDISM ISSED with prejudice.
             ThiscaseisCLOSED,and al1otherpendingm otionsareDENIED asM OOT.

     D O N E A N D O RD ERE D in Cham bers atM iam i,Florida,this 2V      dayofFebruary, 2019.

                                                             'e       F
                                                                  ,


                                                     JO S   .M A RTIN EZ
                                                     UN     D STA TES DISTRICT JUD G E
   Copies provided to:
   M agistrate Judge Otazo-Reyes,a11CounselofRecord,Lashaw n M iddleton,pro se
